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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES ()F AMERICA

V.
Crim. No. 17-201-1 (ABJ)

PAUL J. MANAFORT, JR.

Defendant.

 

 

ORDER
Upon the government’s motion to unseal the superseding indictment in this matter, and
good cause having been shown, it is hereby
ORDERED that the motion is GRANTED; and it is
FURTHER ORDERED that a redacted copy of the superseding indictment shall be

unsealed and placed on the public docket

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Date AMY BERMlAN JACKSON
UNlTED STATES DISTRICT JUDGE

